                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA                              )       DOCKET NO. 3:17-CR-14
                                                      )
               v.                                     )       PETITION FOR
                                                      )       WRIT OF HABEAS CORPUS
                                                      )
OMAR CARRILLO-VILLAGRANA                              )
OFFENDER # 195025                                     )
                                                      )



       NOW COMES the United States of America, by and through R. Andrew Murray, United

States Attorney for the Western District of North Carolina, and OMAR CARRILLO-

VILLAGRANA, DOB: 1/20/1987; W/M who is presently detained in the Cabarrus County Jail,

for his appearance before the Court in the Western District of North Carolina in connection with

a Bill of Indictment in the above district against said defendant.

       It is further ORDERED that immediately after the said case shall have been disposed of

OMAR CARRILLO-VILLAGRANA, be returned to the said Cabarrus County Jail under safe

and secure conduct, and have you then and there this writ

       RESPECTFULLY SUBMITTED, this 2nd day of January, 2019.



                                              R. ANDREW MURRAY
                                              UNITED STATES ATTORNEY
                                              s/Steven R. Kaufman
                                              Assistant United States Attorney
                                              227 West Trade Street, Suite 1650
                                              Charlotte, North Carolina 28202
                                              (704) 344-6222 - office
                                              (704) 344-6629 - fax




      Case 3:17-cr-00014-FDW-DSC Document 100 Filed 01/02/19 Page 1 of 1
